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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

                                  Delaware
 ____________________ District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                     Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/24

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               Silvergate Capital Corporation
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,              ______________________________________________________________________________________________________
      trade names, and doing business
                                              ______________________________________________________________________________________________________
      as names
                                              ______________________________________________________________________________________________________



 3.   Debtor’s federal Employer                3 ___
                                              ___ 3 – ___
                                                       0 ___
                                                          2 ___
                                                             2 ___
                                                                7 ___
                                                                   3 ___
                                                                      3 ___
                                                                         7
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                           of business

                                              4225           Executive Square
                                              ______________________________________                       _______________________________________________
                                              Number     Street                                            Number     Street

                                                  Suite 600
                                              ______________________________________________               _______________________________________________
                                                                                                           P.O. Box

                                                  La Jolla                     CA         92037
                                              ______________________________________________               _______________________________________________
                                              City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                                  San Diego
                                              ______________________________________________
                                              County                                                       _______________________________________________
                                                                                                           Number     Street

                                                                                                           _______________________________________________

                                                                                                           _______________________________________________
                                                                                                           City                      State      ZIP Code




 5.   Debtor’s website (URL)                      https://silvergate.com
                                              ____________________________________________________________________________________________________




Official Form 201                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
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               Silvergate Capital Corporation
Debtor        _______________________________________________________                         Case number (if known)_____________________________________
              Name




 6.   Type of debtor                        Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________

                                           A. Check one:
 7.   Describe debtor’s business
                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            None of the above

                                           B. Check all that apply:

                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                           C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                              http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                 5 ___
                                                ___ 2 ___
                                                       3 ___
                                                          9
 8.   Under which chapter of the           Check one:
      Bankruptcy Code is the
      debtor filing?                        Chapter 7
                                            Chapter 9
                                            Chapter 11. Check all that apply:
                                                          Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                                4/01/25 and every 3 years after that).
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                of operations, cash-flow statement, and federal income tax return or if all of these
                                                                documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                                chooses to proceed under Subchapter V of Chapter 11.

                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                            Chapter 12
 9.   Were prior bankruptcy cases           No
      filed by or against the debtor
      within the last 8 years?              Yes. District _______________________ When _______________ Case number _________________________
                                                                                                MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                  District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY


 Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 2
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                Silvergate Capital Corporation
Debtor        _______________________________________________________                      Case number (if known)_____________________________________
              Name



 10. Are any bankruptcy cases            No
     pending or being filed by a                        See Attachment A                                           Affiliate
     business partner or an              Yes. Debtor _____________________________________________ Relationship _________________________
     affiliate of the debtor?                                District of Delaware
                                                  District _____________________________________________ When
                                                                                                                             Contemporaneous
                                                                                                                            __________________
     List all cases. If more than 1,                                                                                        MM / DD / YYYY
     attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this      Check all that apply:
     district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                         A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have         No
     possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     property or personal property
     that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
     attention?
                                                  It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard? _____________________________________________________________________

                                                  It needs to be physically secured or protected from the weather.
                                                  It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                     assets or other options).

                                                  Other _______________________________________________________________________________


                                                 Where is the property?_____________________________________________________________________
                                                                           Number          Street

                                                                           ____________________________________________________________________

                                                                           _______________________________________         _______ ________________
                                                                           City                                            State ZIP Code


                                                 Is the property insured?

                                                  No
                                                  Yes. Insurance agency ____________________________________________________________________
                                                          Contact name     ____________________________________________________________________

                                                          Phone            ________________________________




             Statistical and administrative information



 13. Debtor’s estimation of             Check one:
     available funds                     Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                         1-49                            1,000-5,000                              25,001-50,000
 14. Estimated number of
                                         50-99                           5,001-10,000                             50,001-100,000
     creditors
                                         100-199                         10,001-25,000                            More than 100,000
                                         200-999

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              Silvergate Capital Corporation
Debtor      _______________________________________________________                             Case number (if known)_____________________________________
            Name



                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15. Estimated assets
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of           The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                            09/17/2024
                                             Executed on _________________
                                                         MM / DD / YYYY


                                              /s/ Elaine Hetrick
                                             _____________________________________________
                                                                                                            Elaine Hetrick
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name
                                                     Chief Administrative Officer
                                             Title _________________________________________




 18. Signature of attorney
                                              /s/ Paul N. Heath
                                             _____________________________________________                Date         09/17/2024
                                                                                                                     _________________
                                             Signature of attorney for debtor                                        MM     / DD / YYYY



                                                Paul N. Heath
                                             _________________________________________________________________________________________________
                                             Printed name
                                               Richards, Layton & Finger, P.A.
                                             _________________________________________________________________________________________________
                                             Firm name
                                              920           North King Street
                                             _________________________________________________________________________________________________
                                             Number        Street
                                                Wilmington                                           DE            19801
                                             ____________________________________________________ ____________  ______________________________
                                             City                                                  State        ZIP Code

                                              (302) 651-7700
                                             ____________________________________                             heath@rlf.com
                                                                                                             __________________________________________
                                             Contact phone                                                   Email address



                                              3704
                                             ______________________________________________________  DE
                                                                                                    ____________
                                             Bar number                                             State




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                               RESOLUTIONS OF THE
                              BOARD OF DIRECTORS OF
                         SILVERGATE CAPITAL CORPORATION

                                        September 13, 2024

              The members of the Board of Directors (the “Board”) of Silvergate Capital
Corporation, organized and existing under the laws of the State of Maryland (the “Company”),
approved and adopted the following actions at the meeting of the Board held on September 13,
2024:

                 WHEREAS, the Board has reviewed, discussed and had the opportunity to ask
questions about the materials presented by management and the legal and financial advisors of the
Company regarding, among other matters, the actual and potential liabilities of the Company, its
liquidity, the strategic alternatives available to it and the impact of the foregoing on the Company’s
business;

                WHEREAS, the Board has had the opportunity to consult with management and
the legal and financial advisors of the Company to fully consider each of the strategic alternatives
available to the Company;

               WHEREAS, in the judgment of the Board, it is desirable and in the best interests
of the Company, its creditors, and other interested parties that a petition be filed by the Company
seeking relief under the provisions of chapter 11 of title 11 of the United States Code (the
“Bankruptcy Code”) in the United States Bankruptcy Court for the District of Delaware (the
“Chapter 11 Case”);

               WHEREAS, following extensive, good-faith, arm’s length negotiations, the
Company will enter into the restructuring support agreement (including all exhibits attached
thereto, the “RSA”) by and among each Company and the Supporting Preferred Stockholders (as
defined in the RSA);

               WHEREAS, the Board has had the opportunity to consult with the management
and legal and financial advisors of the Company regarding the material terms of a proposed plan
of reorganization (the “Plan”) pursuant to which the Company would, among other things,
implement a liquidation and emerge from its Chapter 11 Case;

               WHEREAS, the Board has had the opportunity to consult with the management
and the legal and financial advisors of the Company regarding the material terms of a proposed
Disclosure Statement (the “Disclosure Statement”) accompanying the Plan and the contents and
disclosures thereof;

               WHEREAS, the Board has determined that it is advisable and in the best interest
of such Company, its creditors, stakeholders and other interested parties that such Company, in
furtherance of a liquidation of the Company and emergence from Chapter 11, file the Plan and
Disclosure Statement with the Bankruptcy Court and to solicit acceptances and approvals thereof;




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                 WHEREAS, the Board desires to approve the following resolutions.


                 NOW, THEREFORE, BE IT

Chapter 11 Filing

               RESOLVED, that the Board has determined, after consultation with management
and the legal and financial advisors of the Company, that it is desirable and in the best interests of
the Company, its stakeholders, its creditors, and other parties in interest that a petition be filed by
the Company seeking relief under chapter 11 of the Bankruptcy Code; and

                RESOLVED, that any officer of the Company (each, an “Authorized Officer”),
acting singly or jointly, be, and each hereby is, authorized and empowered, with full power of
delegation, to negotiate, execute, deliver, and file in the name and on behalf of the Company, and
under its seal or otherwise, all plans, petitions, schedules, statements, motions, lists, applications,
pleadings, papers, affidavits, declarations, orders, and other documents in the United States
Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”), and, in connection
therewith, to take and perform any and all further acts and deeds which such Authorized Officer
deems necessary, appropriate, desirable or advisable in connection with the Chapter 11 Case,
including, without limitation, (a) the payment of any fees, expenses, and taxes such Authorized
Officer deems necessary, appropriate, desirable or advisable, and (b) negotiating, executing,
delivering, performing and filing any and all additional documents, schedules, statements, lists,
papers, agreements, certificates or instruments (or any amendments or modifications thereto) in
connection with, or in furtherance of, the Chapter 11 Case with a view to the successful prosecution
of the Chapter 11 Case (such acts to be conclusive evidence that such Authorized Officer deemed
the same to meet such standard); and

Restructuring Support Agreement, Chapter 11 Plan and Disclosure Statement

                RESOLVED, that in the judgment of the Board, it is desirable and in the best
interests of the Company, its creditors and the other parties in interest that the Company and the
other parties thereto enter into the Restructuring Support Agreement (substantially on the terms
presented to the Board) and commence solicitation of the Plan consistent with the Restructuring
Support Agreement, and that the Company’s performance of its obligations under the
Restructuring Support Agreement be and hereby is, in all respects, authorized, approved,
confirmed and ratified;

                 RESOLVED, that in the judgment of the Board it is desirable and in the best
interests of the Company, its creditors and the other parties in interest to take all actions (including,
without limitation, to negotiate and execute any agreements, documents, or certificates) necessary
to undertake and enter into the Restructuring Support Agreement and to consummate the
transactions contemplated thereby, including without limitation, the assumption of obligations,
rejection of obligations, sale of the Company, sale of equity or assets, merger, liquidation, or other
transactions contemplated thereby and all exhibits, schedules, attachments, and ancillary


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documents or agreements related thereto (each in the form and upon the terms as the Board may
approve, such approval to be conclusively established by the Board’s execution and delivery or
taking thereof), and that the Company’s entry into and performance of its obligations in respect
thereof, is, in all respects, authorized, approved, confirmed and ratified;

               RESOLVED, that the Board adopts, ratifies, confirms and approves the form,
terms and provisions of, and each of the transactions contemplated by the Plan and the Disclosure
Statement, as each may be amended or modified from time to time;

                RESOLVED, that the Company’s advisors be, and each hereby are, authorized,
empowered and directed, on behalf of and in the name of the Company, to prepare, finalize and
file, as appropriate, procedures for the solicitation and tabulation of votes to accept or reject the
Plan; and

Retention of Professionals

               RESOLVED, that each of the Authorized Officers be, and hereby is, authorized
and directed to employ the law firm of Cravath, Swaine & Moore LLP (“Cravath”) as general
bankruptcy counsel to represent and assist the Company in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance the Company’s rights and obligations,
including filing any motions, objections, replies, applications, or pleadings; and in connection
therewith, each of the Authorized Officers, with power of delegation, is hereby authorized and
directed to execute appropriate retention agreements, pay appropriate retainers, and to cause to be
filed an appropriate application for authority to retain the services of Cravath.

                RESOLVED, that each of the Authorized Officers be, and hereby is, authorized
and directed to employ the law firm of Richards, Layton & Finger, P.A. as local bankruptcy
counsel to represent and assist the Company in carrying out its duties under the Bankruptcy Code,
and to take any and all actions to advance the Company’s rights and obligations, including filing
any motions, objections, replies, applications, or pleadings; and in connection therewith, each of
the Authorized Officers, with power of delegation, is hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain the services of Richards, Layton & Finger, P.A.

                RESOLVED, that each of the Authorized Officers be, and hereby is, authorized
and directed to employ AlixPartners, LLP (“AlixPartners”) as financial advisor to represent and
assist the Company in carrying out its duties under the Bankruptcy Code, and to take any and all
actions to advance the Company’s rights and obligations; and in connection therewith, each of the
Authorized Officers, with power of delegation, is hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain the services of AlixPartners.

               RESOLVED, that each of the Authorized Officers be, and hereby is, authorized
and directed to employ the firm of Stretto, Inc. as notice and claims agent to represent and assist
the Company in carrying out its duties under the Bankruptcy Code, and to take any and all actions
to advance the Company’s rights and obligations; and in connection therewith, each of the



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Authorized Officers, with power of delegation, is hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed appropriate
applications for authority to retain the services of Stretto, Inc.

                RESOLVED, that each of the Authorized Officers be, and hereby is, authorized
and directed to employ any other professionals to assist the Company in carrying out its duties
under the Bankruptcy Code; and in connection therewith, each of the Authorized Officers, with
power of delegation, is hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers and fees, and to cause to be filed an appropriate application
for authority to retain the services of any other professionals as necessary.

                RESOLVED, that each of the Authorized Officers be, and hereby is, with power
of delegation, authorized, empowered, and directed to execute and file all petitions, schedules,
motions, lists, applications, pleadings, and other papers and, in connection therewith, to employ
and retain all assistance by legal counsel, accountants, financial advisors, and other professionals
and to take and perform any and all further acts and deeds that each of the Authorized Officers
deem necessary, proper, or desirable in connection with the Chapter 11 Case, with a view to the
successful prosecution of such case (such acts to be conclusive evidence that such Authorized
Officer deemed the same to meet such standard); and

General

                 RESOLVED, that in addition to the specific authorizations heretofore conferred
upon the Authorized Officers of the Company, each of the Authorized Officers of the Company or
their designees shall be, and each of them, acting alone, hereby is, authorized, directed and
empowered, in the name of and on behalf of the Company, to take or cause to be taken any and all
such further actions, to execute and deliver any and all such agreements, certificates, instruments
and other documents, including, without limitation, any further resolutions authorizing or
otherwise facilitating the matters described in these resolutions, and to pay all expenses, including
filing fees, in each case as in such Authorized Officer’s or Authorized Officers’ judgment shall be
necessary or desirable in order to fully carry out the intent and accomplish the purposes of the
resolutions adopted herein.

                 RESOLVED, that any and all acts taken and any and all certificates, instruments,
agreements or other documents executed for or on behalf of the Company by any Authorized
Officer prior to the adoption of the foregoing resolutions with regard to any of the transactions,
actions, certificates, instruments, agreements or other documents authorized or approved by the
foregoing resolutions be, and they hereby are, ratified, confirmed, adopted and approved.

                RESOLVED, that the Board has received sufficient notice of the actions and
transactions relating to the matters contemplated by the foregoing Resolutions, as may be required
by the organizational documents of the Company, or hereby waives any right to have received
such notice.




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                                       Attachment A

     Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the affiliated entities listed below (including the debtor
in this Chapter 11 case, collectively, the “Debtors”) filed a voluntary petition for relief
under Chapter 11 of Title 11 of the United States Code in the United States Bankruptcy
Court for the District of Delaware. The Debtors have filed a motion requesting that the
Chapter 11 cases of these entities be consolidated under the case number assigned to the
case of Silvergate Capital Corporation for procedural purposes only and jointly
administered pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure.

                                        Company
                              Silvergate Capital Corporation
                            Silvergate Liquidation Corporation
                                 Spring Valley Lots, LLC
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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE



 In re:                                                       Chapter 11

 SILVERGATE CAPITAL                                           Case No. _______ (__)
 CORPORATION, 1

 Debtor.



               CONSOLIDATED CORPORATE OWNERSHIP STATEMENT

Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

Silvergate Capital Corporation, on behalf of itself and certain of its affiliates as debtors

and debtors-in-possession (collectively, the “Debtors”), respectfully represents:

          1.      No corporate entities own, directly or indirectly, 10% or more of any class
                  of the equity interests of Silvergate Capital Corporation.

          2.      100% of the equity of Silvergate Liquidation Corporation is owned by
                  Silvergate Capital Corporation.

          3.      100% of the equity of Spring Valley Lots, LLC is owned by Silvergate
                  Capital Corporation.

                          [Remainder of page intentionally left blank.]




     1
         The last four digits of Silvergate Capital Corporation’s federal tax identification number are
(7337). The mailing address for Silvergate Capital Corporation is 4225 Executive Square, Suite 600, La
Jolla, CA 92037.
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      Fill in this information to identify the case:

      Debtor name          Silvergate
                           __  ___________    _______________________________________________
                                      Capital Corporation, et. al.

      United States Bankruptcy Court for the: ______________________ District of _
                                                                                 _________
                                                                                 DE

      Case number (If known):         _________________________
                                                                                                       (State)
                                                                                                                                                                       Check if this is an
                                                                                                                                                                          amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                                              12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete                       Name, telephone number, and                  Nature of the claim      Indicate if   Amount of unsecured claim
     mailing address, including zip code                 email address of creditor                    (for example, trade      claim is      If the claim is fully unsecured, fill in only unsecured
                                                         contact                                      debts, bank loans,       contingent, claim amount. If claim is partially secured, fill in
                                                                                                      professional             unliquidated, total claim amount and deduction for value of
                                                                                                      services, and            or disputed collateral or setoff to calculate unsecured claim.
                                                                                                      government
                                                                                                      contracts)
                                                                                                                                               Total claim, if   Deduction for      Unsecured
                                                                                                                                               partially         value of           claim
                                                                                                                                               secured           collateral or
                                                                                                                                                                 setoff
      Trustee: Bank of New York (Silvergate Capital     Mary LaGumina, Vice President, 101            Junior Subordinated                                                           $14,790,662.80
1                                                       Barclay Street, Floor 21 West, Attention:     Debt Securities
      Trust I), 101 Barclay Street, Floor 21 West,
      Attention Responsible Officer                     Responsible Officer, New York, NY 10286




      Centerview Partners LLC, 31 W. 52nd St., New      Ryan Kielty; Centerview Partners LLC, 31      Investment banking fee   C, U, D                                              $3,500,000.00
2     York, NY 10019                                    W. 52nd St., New York, NY 10019




      Trustee: Wilmington Trust Company (Silvergate     Christopher J. Monigle, Assistant Vice        Fixed/Floating Rate                                                           $3,490,444.56
3     Capital Trust II), Rodney Square North, 1100      President, Rodney Square North, 1100          Junior Subordinated
      North Market Street, Attention: Corporate Trust   North Market Street, Attention: Corporate     Deferrable Interest
      Administration                                    Trust Administration, Wilmington, DE          Debentures
                                                        19890-1600

      KPMG, LLP, Dept 0922 PO Box 120922 Dallas,        KPMG, LLP; Dept 0922 PO Box 120922            Indemnification claim    C, U, D                                              $2,240,207.81
4     TX 75312-0922                                     Dallas, TX 75312-0922




      United Litigation Discovery, Inc., 811 Wilshire   United Litigation Discovery; 811 Wilshire     Trade debt                                                                    $48,166.67
5     Blvd, Suite 785, Los Angeles, CA 90017-1858;      Blvd, Suite 785
      213-444-1165                                      Los Angeles, CA 90017-1858;
                                                        213-444-1165


      Federal Deposit Insurance Corporation, 3501       Federal Deposit Insurance Corporation,        Regulatory assessment                                                         $38,230.20
6     North Fairfax Drive, Building E, 5th floor,       Division of Finance, 3501 North Fairfax
      Arlington, VA 22226                               Drive, Building E, 5th floor, Arlington, VA
                                                        22226; assessments@fdic.gov


      Mibura, Inc., 548 Market Street #37259 San        Mibura, Inc, 548 Market Street #37259         Trade debt                                                                    $14,733.39
7     Fransisco, CA 94104; 213-286-3079                 San Fransisco, CA 94104; 213-286-3079




      Amazon Web Services, Inc., 410 Terry Avenue       Amazon Web Services, Inc; 410 Terry           Trade debt                                                                    $10,766.67
8     North Seattle, WA 98109-5210                      Avenue North Seattle, WA 98109-5210




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    Debtor           Silvergate Capital Corporation, et. al.
                     _______________________________________________________                                                     Case number (if known)_____________________________________
                     Name




     Name of creditor and complete                      Name, telephone number, and                  Nature of the claim          Indicate if   Amount of unsecured claim
     mailing address, including zip code                email address of creditor                    (for example, trade          claim is      If the claim is fully unsecured, fill in only unsecured
                                                        contact                                      debts, bank loans,           contingent, claim amount. If claim is partially secured, fill in
                                                                                                     professional                 unliquidated, total claim amount and deduction for value of
                                                                                                     services, and                or disputed collateral or setoff to calculate unsecured claim.
                                                                                                     government
                                                                                                     contracts)
                                                                                                                                                  Total claim, if   Deduction for      Unsecured
                                                                                                                                                  partially         value of           claim
                                                                                                                                                  secured           collateral or
                                                                                                                                                                    setoff

      Apex Systems, LLC; 3750 Collections Center        Apex Systems, LLC; 3750 Collections          Trade debt                                                                        $9,676.25
9     Drive, Chicago, IL 60693;                         Center Drive, Chicago, IL 60693;
      apexremit@apexsystems.com                         apexremit@apexsystems.com




      New York Digital Investment Group LLC, 510        BraunHagey & Borden, LLP, 118 W. 22          Dispute                      C, U, D                                              Unknown
10    Madison Ave, 21st Floor, New York, NY 10022       Street, 12th Floor, New York, NY 10011




      Jacob Guz (Individually and On Behalf of All      Jennifer Pafiti, c/o Pomerantz LLP; 1100     Federal securities class     C, U, D                                              Unknown
11    Similarly Situated), c/o Pomerantz LLP; 1100      Glendon Avenue, Suite 1558, Los              action litigation, 510(b)
      Glendon Avenue, Suite 1558, Los Angeles, CA       Angeles, CA 90024                            Claim
      90024


      John Thomas (Individually and on behalf of all    Laurence M. Rosen, c/o The Rosen Law         Federal securities class     C, U, D                                              Unknown
12    others similary situated), c/o The Rosen Law      Firm, P.A.; 355 South Grand Avenue,          action litigation, 510(b)
      Firm, P.A.; 355 South Grand Avenue, Suite         Suite 2450, Los Angeles, CA 90071            Claim
      2450, Los Angeles, CA 90071


      International Union of Operating Engineers,       Brendan Rae Schneiderman; Jan                Federal securities class     C, U, D                                              Unknown
13    Local No. 793, Members Pension Benefit Trust      Messerschmidt; Stephen Douglas Bunch;        action litigation, 510(b)
      of Ontario et al.; c/o Cohen Milstein Sellers &   Steven J. Toll, c/o Cohen Milstein Sellers   Claim
      Toll PLLC; 1100 New York Avenue NW, Fifth         & Toll PLLC; 1100 New York Avenue NW,
      Floor, Washington, DC 20005                       Fifth Floor, Washington, DC 20005

      Goldman Sachs & Co. LLC, et al.; c/o Latham &     Jason C. Hegt, c/o Latham & Watkins          Federal securities class     C, U, D                                              Unknown
14    Watkins LLP; 1271 Avenue of the Americas,         LLP; 1271 Avenue of the Americas, New        action litigation, 510(b)
      New York, NY 10020                                York, NY 10020                               Claim




      Wedbush Securities LLC, 650 Town Center           Michele Dianne Johnson, 650 Town             Federal securities class     C, U, D                                              Unknown
15    Drive, Suite 2000, Costa Mesa, CA 92676           Center Drive, Suite 2000, Costa Mesa, CA     action litigation, 510(b)
                                                        92676                                        Claim




      Soham Bhatia, et al.; c/o Levine Kellogg          Jason Kenneth Kellogg, c/o Levine            Class action litigation      C, U, D                                              Unknown
16    Lehman Schneider & Grossman; 100 SE 2nd           Kellogg Lehman Schneider & Grossman;
      Street, 36th Floor, Miami, FL 33131               100 SE 2nd Street, 36th Floor, Miami, FL
                                                        33131


      Nicole Keane, c/o Fitzgerald Monroe Flynn PC;     Caroline S. Emhardt, c/o Fitzgerald          Class action litigation      C, U, D                                              Unknown
17    2341 Jefferson Street, Suite 200, San Diego,      Monroe Flynn PC; 2341 Jefferson Street,
      CA 92110                                          Suite 200, San Diego, CA 92110




      Word of God Fellowship, Inc, c/o Stream Kim       Theodore K. Stream, Robter J. Hicks,         Class action litigation      C, U, D                                              Unknown
18    Hicks Wrage & Alfaro, PC, 3403 Tenth Street,      Ashley M. Payne, c/o Stream Kim Hicks
      Suite 700, Riverside Ca 92501-9470                Wrage & Alfaro, PC, 3403 Tenth Street,
                                                        Suite 700, Riverside Ca 92501-9470


      Bucks County Employees Retirement Fund, c/o       Carol V. Gilden, , c/o Cohen Milstein        Federal securities class     C, U, D                                              Unknown
19    Cohen Milstein Sellers & Toll PLLC; 190 S.        Sellers & Toll PLLC; 190 S. LaSalle          action litigation, 510(b)
      LaSalle Street, Ste. 1705, Chiciago, IL 60603     Street, Ste. 1705, Chiciago, IL 60603        Claim




      JPMorgan Chase Bank, N.A., c/o Nicole             Nicole Goodwin, Greenberg Traurig, LLP;      Third-Party                  C, U, D                                              Unknown
20    Goodwin, Greenberg Traurig, LLP; 2375 East        2375 East Camelback Road, Suite 800,         Indemnification Litigation
      Camelback Road, Suite 800, Phoenix, AZ            Phoenix, AZ 85016;
      85016; 612-445-8454                               Nicole.Goodwin@gtlaw.com;
                                                        612-445-8454




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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE


 In re:                                                         Chapter 11

 SILVERGATE CAPITAL CORPORATION,                                Case No. _______ (__)

 Debtor.



                                 List of Equity Security Holders1

Debtor             Equity Holders             Address of Equity              Type of         Percentage
                                              Holders                        Equity          Held
                                                                             Security
Silvergate  Stilwell Activist                 Stilwell Activist              Common          9.9%
Capital     Investments, L.P.                 Investments, L.P., 111         Stock
Corporation                                   Broadway, 12th Floor
                                              New York, NY 10006




     1
      This list reflects known, registered holders of five percent or more of Silvergate Capital
Corporation’s common stock as of September 12, 2024.
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 Fill in this information to identify the case and this filing:


              Silvergate Capital Corporation
 Debtor Name __________________________________________________________________
                                                                             Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____

          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                                                     Corporate Ownership Statement, List of Equity Security Holders
          Other document that requires a declaration__________________________________________________________________________________



        I declare under penalty of perjury that the foregoing is true and correct.


                      09/17/2024
        Executed on ______________                                /s/ Elaine Hetrick
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Elaine Hetrick
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Chief Administrative Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
